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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

ASHLEY POTTS f/k/a
ASHLEY TAYLOR,

        Plaintiff,

v.                                                     CASE NO.:      8:18-cv-01835-JSM-CPT


SAS MARKETING GROUP, LLC d/b/a
GLOBAL LOAN CONSOLIDATION,
GLOBAL DOC PREP INC, and
EQUITABLE ACCEPTANCE
CORPORATION,

      Defendants.
____________________________________/

                     PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS

        In accordance with Local Rule 1.04(d), and the Court’s Related Case Order and Track
Two Notice (Doc. No. 5), I certify that the instant action:

__X     IS              related to pending or closed civil or criminal case(s) previously filed in
                        this Court, or any other Federal or State court, or administrative agency as
                        Indicated below:

                        Middle District of Florida Case #: 8:17-cv-02024-SDM-TBM
                        Taylor v. SAS Marketing Group, LLC, et. al.

__ __   IS NOT          related to any pending or closed civil or criminal case filed with this
                        Court, or any other Federal or State court, or administrative agency.

        I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party no later than fourteen days after appearance of the party.
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       Respectfully submitted this August 10, 2018.

                                             /s/ Kaelyn Steinkraus
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                                             (f) (727) 362-4778
                                             Attorneys and Trial Counsel for Plaintiff

                                CERTIFICATE OF SERVICE

       I hereby certify that on this 10 day of August, 2018, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system, and sent via standard mail to the
below address for Defendant, since no attorneys have appeared to date:

       SAS Marketing Group, LLC d/b/a Global Loan Consolidation
       c/o Andrew Rudnick, as Registered Agent for Defendant
       5301 N. Federal Highway, Suite 250
       Boca Raton, FL 33487

       Global Doc Prep, Inc.
       c/o Catherine Rudnick, as Registered Agent for Defendant
       5301 N. Federal Highway, Suite 250
       Boca Raton, FL 33487

       Equitable Acceptance Corporation
       c/o Jeff D. Henn, as Registered Agent for Defendant
       1200 Ford Road
       Minnetonka, MN 55305


                                             /s/ Kaelyn Steinkraus
                                             Kaelyn Steinkraus, Esq.
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                                             kaelyn@zieglerlawoffice.com
